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                                                    3;
                             FORM FOR USE IN APPLICATIONS
                 FOR HABEAS CORPUS UNDER 28 U.S.C.

  SYLVESTER DAVIS. JR.
                         	
                                                            iV\	          -b P !
Name
                                                                                   T
  211672                                                           Lfl	    -
                                                                          DYi
Prison Number
  ST. CLAIR CORRECTIONAL FACILITY



Place of Confinement
                                                	
United States District Court .	        MIDDLE               District of
 Case No.
(To be supplied by Clerk of U. S District Court)

  SYLVESTER DAVIS. JR.	                                                            PETITIONER
(Full Name) (Include name under which you were convicted)

  DEWAYNE                      ESTES.               Warden
                                                                               	   RESPONDENT
(Name of Warden, Superintendent, Jailor, or authorized person
having custody of Petitioner)
                                          and
THE ATTORNEY GENERAL OF THE STATE OF
  DEWAYNE ESTES, Warden 	
                                                         ADDITIONAL RESPONDENT.
     (if petitioner is attacking a judgement which imposed a sentence .to be
served in the future, petitioner must fill in the name of the state where the
judgment was entered. If petitioner has a sentence to be served in the future
under a federal judgment which he wishes to attack, he should file a motion
under 28 U.S.C. §2255, in the federal court which entered the judgment.),

           PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN
                             STATE CUSTODY
                             INSTRUCTIONS--READ CAREFULLY
(1) This petition must be legibly handwritten or typewritten and signed by the
    petitioner under penalty of perjury. Any false statement of a material fact
    may serve as the basis for prosecution and conviction for perjury. All
    questions must be answered concisely in the proper space on the form.

                                                                                         N955
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   The Judicial Conference of the United States has adopted, effective 1/1/
   83, the 8 1h x 11 inch paper size standard for use throughout the federal
   judiciary and directed the elimination of the use of legal size paper. All
   pleadings, etc. filed after 12/31/82 must be on 8½ x 11 inch paper, otherwise
   we cannot accept them.
(2) Additional pages are not permitted except with respect to the facts which
    you rely upon to support your grounds for relief. No citation of authorities
    need be furnished. If briefs or arguments are submitted, they should be
    submitted in the form of a separate memorandum.
(3) Upon receipt of a fee of $5 your petition will be filed if it is in proper order.
(4) If you do not have the necessary filing fee, you may request permission to
    proceed in forma pauperis, in which event you must execute the declaration
    on the last page, setting forth information establishing your inability to
    prepay the fees and costs or give security therefor. If you wish to proceed
    in forma pauperis, you must have an authorized officer at the penal
    institution complete the certificate as to the amount of money and securities
    on deposit to your credit in any account in the institution.
(5) Only judgments entered by one court may be challenged in a single
    petition. If you seek to challenge judgments entered by different courts
    either in the same state or in different states, you must file separate petitions
    as to each court.
(6) Your attention is directed to the fact that you must include all grounds
    for relief and all facts supporting such grounds for relief in the petition
    you file seeking relief from any judgment of conviction.
(7) When the petition if fully completed, the original and two copies * must
    be mailed to the Clerk of the United States District Court whose address
    is:
                                   P.O. Box 711
                           Montgomery, Alabama 36101


(8) Petitions which do not conform to these instructions will be returned with
    a notation as to the deficiency.
    *If you are proceeding in forma pauperis, only the original petition needs
    to be filed with the Court.
                                      PETITION
 1. Name                     %qj^uy^^co%ptnteredthe judgment of conviction under
    attack
 2. Date of judgment of conviction	         November 15, 2013

 3. Length of sentence Life W/O	       Sentencing Judge Albert L. Johnson
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           of offense or offenses for which you were convicted: Murder (1 count)



5. What was your plea? (check one)
   (a) Not guilty (XX)
   (b) Guilty	     ( )
   (c) Nolocontend-ere ( )
   If you entered a guilty plea to one count or indictment, and a not guilty
   plea to another count or indictment, give details: 	 N/A




6. Kind of trial: (Check one.)
              (X)
   (a) Jury
   (b) Judge only ( )
7. Did you testify at the trial? Yes ( ) 	    No   (X )

8. Did you appeal from the judgment of conviction?	         Yes   (XX)	    No ( )
9. If you did appeal, answer the following:
    (a) Name of court	       Alabama Court Of Criminal Appeals
    (b) Result 	      Affirmed
   "JcbbeVf4esult	           March 6, 2015
    If you filed a second appe)Aor filed a petition for certeorari in the Supreme
    Court, give details:



10. Other than a direct appeal from the judgment of conviction and sentence,
    have you previously filed any petitions, applications, or motions with respect
    to this judgment in any court, state or federal? Yes x) 	       No ( )
11. If your answer to 10 was"yes" give the following information:
    (a) (1) Name of court R Russell
                                  '     Circuit Court
                                             Rule JZ	
        (2) Nature of proceeding	                             -•
       (3) Grounds raised Denial of Effective Assistance of Counsel;      Newly
                                                                              .   Discovered
           Evidence; Prosecutor Misconduct & Brady Violation




       (4) Did you receive an evidentiary hearing on your petition, application
           or motion? Yes ( )	      No (X)
       (5) ResulVenied
       (6) Date of result	        August 10, 2016
 -
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(b) As to any second petition, application or motion give the same
    information:	              N/A
    (1) Name of court______________________________________________
    (2) Nature of proceeding	                                      -

     (3) Grounds raised	              *\




    (4) Did you receive an evidentiary hearing on your petition, application
        or motion? Yes ( ) 	       No ( )
    (5) Result
    (6) Date of result
(c) As to any third petition, app1iction or motion, give the same information:
                                   N,A
    (1) Name of Court	
    (2) Nature of proceeding
     (3) Grounds raised




     (4) Did you receive an evidentiary hearing on your petition, application
         or motion? Yes ( ) 	     No ( )
     (5) Result -
     (6) Date of result
(d) Did you appeal to the highest state court having jurisdiction the result
     of any action taken on any petition, application or motion:
     (1) First petition, etc.	             Yes ()	       No ( )
     (2) Second petition, etc.	            Yes ( )	      No ( )
     (3) Third petition, etc.	             Yes ( )	      No ( )
(e) If you did not appeal from the adverse action on any petition, application
     or motion, explain briefly why you did not:	     N/A
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12. State concisely every ground on which you claim that you are being held
    unlawfully. Summarize briefly the facts supporting each ground.
   CAUTION: In order to proceed in the federal court, you must ordinarily
          first exhaust your state court remedies as to each ground on
          which you request action by the federal court. As to all grounds
          on which you have previously exhausted state court remedies,
          you should set them forth in this petition if you wish to seek
          federal relief. If you fail to set forth all such grounds in this
          petition, you may be barred from presenting them at a later date.
    For your information, the following is a list of the most frequently raised
grounds for relief in habeas corpus proceedings. Each statement preceded by
a letter constitutes a separate ground for possible relief.. You may raise any
grounds which you may have other than those listed if you have exhausted all
your state court remedies with respect to them However, you should raise in
this petition all available grounds (relating to this conviction) on which you
base your allegations that you are being held in custody unlawfully.
    If you select one or more of these grounds for relief, you must allege facts
in support of the ground or grounds which you choose. Do not check any of
the grounds listed below. The petition will be returned to you if you merely
check (a) through (j) or any one of these grounds.
   (a) Conviction obtained by plea of guilty which was unlawfully induced Or
       not made voluntarily with understanding of the nature of the charge
       and the consequences of the plea.
   (b) Conviction obtained by use of coerced confession.
   (c) Conviction obtained by use of evidence gained pursuant to an
       unconstitutional search and seizure, [where the state has not provided
       a full and fair hearing on the merits of the Fourth Amendment claim].
   (d) Conviction obtained by use of evidence obtained pursuant to an unlawful
       arrest, [where the state has not provided a full and fair hearing on the
       merits of the Fourth Amendment claim].
   (e) Conviction obtained by a violation of the privilege against self-
       incrimination.
   (f) Conviction obtained by the unconstitutional failure of the prosecution
       to disclose to the defendant evidence favorable to the defendant.
   (g) Conviction obtained by a violation of the protection against double
       jeopardy.
   (h) Conviction obtained by action of a grand or petit jury which was
       unconstitutionally selected and impaneled.
   (1) Denial of effective assistance of counsel.
   (j) Denial of right of appeal.
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A. Ground one:
   Supporting FACTS (tell your story brief] y without citing cases or law):.

                                                   -




B. Ground two:	              $

   Supporting FACTS (tell your story hrifly without citing cases or law): -




C. Ground three:
   Supporting FACTS (tell your story brief] y without citing cases or law):,
	
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       D. Ground four:
            Supporting FACTS (tell your story briefly without citing cases or law):




    13. If any of the grounds listed in 12A, B, C, and D were not previously presented
        in any other court, state or federal state briefly what grounds were not so
        presented, and give your reasons for not presenting them:




    14. Do you have any petition or appeal now pending in any court, wither state
        or federal, as to the judgment under attack? 	 Yes ( ) No (X )
    15. Give the name and address, if known, of each attorney who represented
        you in the following stages of the judgment attacked herein:
        (a) At preliminary hearing	            N/A


       (b) At arraignment and plea	              Walter Gray
                                        -	     Phenix City Alabama
                                             Walter Gray
        (c) At trial	
                                   Wi1LtL GLy
        (d) At sentencing
                            Jo Anna C. Parker
        (e) On appeal	      rhenix City, Al
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                                              Matthew A. Bailey
   (f) In any post-conviction proceeding    Biihai, i.
   (g) On appeal from any adverse ruling in a post-conviction proceeding:
             Matthew Bailey



16. Were you sentenced on more than one count of an indictment, Or on more
    than one indictment, in the same court and at the same time?
    Yes ( )	    No (X25
17. Do you have any future sentence to serve after you complete the sentence
    imposed by the judgment under attack?
    Yes ( )	    No (XX)
   (a) If so, give name and location of court which imposed sentence to be
       served in the future:	            N/A

   (b) And give date and length of sentence to be served in the future:
   (c) Have you filed, or do you contemplate filing, any petition attacking the
       judgment which imposed the sentence to be served in the future?
       Yes ( )	    No ()
      Wherefore, petitioner prays that the Court grant petitioner relief to which
   he may be entitled in this proceeding.




                                      Signature of Attorney (if any)
       I declare (or certify, verify, or state) under pena)ty of perjury that the
       foregoing is true arid correct. Executed on	              ( ,7
                                                              (date)


                                      Sig'ature of Petitioner
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                AThCHMENT TO PETITION FOR WROT OF HABEAS CORPUS
                          PURSUANT TO 28 U.S.C.6 2254


Ground One: Petitioner, Sylvester Davis, was denied Due Process and a Fair
Trial When the ' Trial Court denied his Motion for Judgment of Acquittal based
on the State's failure to prove the corpus delecti and causal connection of
death.

Supporting Facts:

     Petitioner avers for the State of Alabama to have properly submitted this

to the jury, there must have existed before the jury legal evidence from which

the jury by fair ineference could have found the petitioner guilty. Further,

that in order for sufficient legal evidence to exist, the State had the burden

to prove the corpus delicti and that there was a causal connection betwven the

action of Petitioner and the cause of the Victl&s death. Davis contends, because

such evidence did not exist, he was denied Due Process.

     In this matter, sub judice, Dr. Steven Boudreau, the forensic examiner

called by the State, could not ascertain a cause of death and he was unable to

identify any evidence of injury, inside the body cavities or the skull. (R. 259-

60). Dr. Boudreau testified that the means of death were underternilnable, but

he believed the death to be a homicide. (Id.) This opinion was based on the

circumstances in which the body was found. (R. 261) there was no testimony that

Dr. Boudreau opinion was based on sciencitif Ic methods or reliable principles

and methods.

     Petitioner acknowledge that Dr. Boüdreau's testimony was not the only

testimony offered by the State in support of its contention that the death of

the deceased resulted from the criminal agency of another, however,

circumstantiaL evidence alone, unless it excludes to a moral certainty every

reasonable hypothesis but that of petitioner's guilt.. In this case, because the

State failed In its burden, the trial court denied Davis Due Process in denying

his Motion for Judgment of Acquittal.
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Ground Two: Petitioner was denied De Process and a fair trial when the Trial
Court denied Davis Motion for a Judgment of Acquittal based On his conviction
resting upon the uncorrOborated testimony of an accomplice..

Supporting Facts:

     Petitioner contends that Jetry Foster, who was an Inmate in the Macon

County Jail, was the State's sole witness connecting Davis to the crime, told

Alabama Bureau of Investigation agents, that he had been living and working at

Petitioner's automotive and detail shop he owned in Phenix city Alabama, that

Davis came to the shop and instructed him to come With him, Foster stated that

Davis Was disheveled and had scratches on his face and neck. Foster stated that

Davis got in the victim's red avalanche and told Foster to follow him in Davis

Hummer; Davis drove into ColWnbus and parked the avalanche in a parking lot and

got back into his Hummer and drove back to Phenix City, and when nearing his

shop., he turned of.f onto a dirt road and backed into a cut; Davis told Foster

that he fucked-up and needed Foster's help to bury his girl friend, in which

Foster stated that Davis told him " Man I killed my girl", Foster stated he got

Out the Hummer to leave, he looked behind the Hummer and saw a body wrapped in

sheets, the feet Were exposed, and the toenails on the feet were painted. Foster

directed ABI to the remote area where agents found the body, he further showed

ABI the routes he and Davis drove from phenix city to columbus where the red

avalanche was found.

    Davis contends that a conviction of a felony cannot be had on the testimony

of an accomplice unless corroborated by other evidence tending to connect the

defendant with the commission of the offense, and such corroborative evidence,

if it merely shows the commission of the offense or the circumstances thereof,

is not sufficient.

     Davis contends that Jerry Foster was at the very least to be considered an

accomplice in the matter for Which Davis stands convicted. Foster was the only

person With proven knowledge of the whereabouts of the body; there was no

forensic
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_ :'


   forensic evidence that incriminated petitioner than there was against Foster.

        Petitioner contends that based on his knowledge of the whereabouts of the

   body of the victim, Foster could have been indicted as the perpetrator of the

   offense, at the very least, if Foster testimony is to believed, his failure to

   immediately contact law enforcement makes him an accomplice after the fact.

        Davis contends that absent Foster testimony, there is no evidence connectin

   him to the crime. The State presented testimony and evidence suggesting that

   Petitioner was with the decedent earlier on the day she is alleged to have died.

   However, Dr. Boudreau could not give an approximation of when the decedent

   perished other than a month or so. (R. 264). Further absent Foster's testimony,

   there is no other testimony or evidence suggesting that the decedent perished

   as a result of the criminal agency of another other thanthe speculation and
                                       was
   conjecture of Dr. Boudreau that           not based on any scientific analysis or

   method, in fact, Dr. Boudreau testified that there's an indication that there's

   been fould play. (R. 261)

        Davis contends because his conviction rest upon the uncorroborated testimony

   of an accomplice, the trial court denied Davis Due Process when he defied his

   Motion for judgment of acquittal.

    found Three: Petitioner was denied Due Process and a fair trial when he was
   convicted without the State presenting sufficient evidence to support a finding
   of guilt.

   Supporting Facts:
   Petitioner argues that he was denied Due Process when he was convicted without the State

   Øvubtng each element of the offense beyond a reasonable doubt. Petitioner incorporates

   by reference as if restated herein the facts and arguments as set forth in grounds 1 and

   2, and contends that in light of the record evidence and reviewing it in light most

   favorable to the State, there was insufficient evidence to sustain the conviction,

   and Davis is entitle to habeas relief on this claim.
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    Ground Four: Petitioner was, denied Due Process and a fair trial because the State
    fail to prove each element of the offense.

    Supporting Facts:
            Petitioner avers that he was deprived of liberty without due process of

    law in violation of the rights guaranteed under the fourteenth Amendment to the

    United States Constitution, because the State was not required to prove cause of

    death and causal connection. The Due Process clause of the fourteenth amendment

    protects the accused against conviction except upon proof beyond a reasonable doubt

    of every fact necessary to constitute the crime with which he is charged. As

    petitioner argued in grounds 1-3 above, in order for this cause to have been

    properly submitted to the jury, the State had the burden to prove the corpus

    delicti and that there was a causal connection between the actions of petitioner

    and the cause of the decedent's death. Petitioner argues that the record is void

    of any evidence of an injury inflicted upon the deceased that caused her death,

    there was no evidence of an injury caused to the deceased by petitioner, which

    could have proximately caused her death, because the State was not required to

    prove a causal connection between an injury caused to the deceased by petitioner

    and her death, petitioner was denied due process of law as guaranteed by the

    fourteenth amendment to the United States Constitution and is entitled to habeas

    relief.

    Ground Five: Petitioner was denied his sixth amendment right to effective
    assistance of counsel when counsel fail to Investigate the case against him.

    Supporting Facts:

              Petitioner avers that his trial counsel failed to properly investigate the

    case against Mr. Davis by not looking into the alleged intimidation of Jerry Wayne

    FOtEt by the petitioner, not investigating Foster 'leaving Phenix City and his stay.

    in Tuskegee before his arrest, the circumstances surrounding Davis and the victim

    living arrangements with the petitioner, and not investigating witnesses that saW

    Davis on the day he is alleged to bayed murdered the victim.
.1u    Case 3:17-cv-00675-WKW-WC Document 1 Filed 10/06/17 Page 13 of 18


        Petitioner avers that disproving the intrijilidation of Foster would show that

he was committing perjury on the stand. The only person to place Davis at the acene

of the murder is Foster. If counsel had actually investigated the supposed

intimidation or bribery by Davis, they would have been able to easily dispute

Foster's narrative and show that he was not being truthful towards thejury.

Additionally, an investigation into the time that Foster spent in Tuskegee would

have given them helpful knowledge regarding the truthfulness of his statements for

when he went back home. The informstion Davis had on purchasing furniture would

have shown that any inference made by the State about his apartment due to lack

of. furniture were incorrect. Later, Davis argued that Foster testified that a woman

that he met paid $7500 to bail him out, either the prosecution failed to reveal

the circumstances surrounding Foster's bail or counsel failed to look into actual

paperwork to determine the truth of the statement..

        Petitioner contends if counsel had actually investigated the supposed

intimidation or bribery by Davis, they would have been able to easily dispute

Foster's narrative and show that he was not being truthful toward the jury. Davis

provided affidavits from individuals who were in jail with Foster and Davis at the

time the note was written that would testify that Foster voluntarily wrote the note

and gave It to Davis. the key witness testimony on material issue shown to be

perjury would seriously have undermined the case brought by the State and would

show prejudiced during the trial due to failure by the trial counsel.

        Petitioner avers that his trial counsel error and omission and this

regards was deficient performance that prejudice Davis and deprived him of a

fundamental fair trial. Davis is entitled to habeas relief on this claim.

Ground Six: Trial . Counsel was ineffective and Davis was prejudiced thereby when
counsel failed to challenge the legally questionable cell phone evidence that the
State relied upon.

Supporting Facts:
        Petitioner avers that the State in his case called Sandra Ricky, a forensic

analyst with the Special Victims Unit for the Columbus Police Department, Detective
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a
Ricky was admitted as an expert because she had testified as an expert before and

testified she was a certified mobile device examiner from the International

AssOciation of Computer Investigative SpecialIsts, she also had an FBI CART

certification. Using information obtained by the department, inky testified as

to the supposed location of Davis Phone through the day the victim disappeared.,

Ricky testimony was the basis provided by the State for admitting several maps as

exhibits with claims of the exact times and locations of the phones on them. lucky

was qualified to be an expert on cell phone data and information, but the

conclusions drawn based on that data and the subsequent testimony on those

conclusions was not backed up by scientific acceptance or testing in the field.

        Petitioner avers trial counsel should have moved to exclude the evidence

presented by the State, pressed the expert on the reliaBILIFY OF THE EVIDENCE ON

CROSS-EXAMINATION: MOVED FOR THE COURT TO INSTRUCT THE JURY REGARDING THE

RELIABILITY OF THE EVIDENCE, OR MOVED FOR THEIR OWN CELL PRONE EXPERT, HAD ANY ONE

OF THESE BEEN PRESENT, the jury could have entertained a reasonable doubt with

respect to Davis guilt. Petitioner avers that trial counsel error in failing to

argue, against the admissibility or weight of the cell phone evidence and for

failing to ask for funds to bring in an expert in that field that could show the

problems with testimony which falsely claims to be able to accurately use an

individual's cell records to accurately reflect their location, was deficient

performance that prejudiced Davis defense and deprived him a fair trial.

Ground Seven: Counsel was ineffective and Davis was prejudiced thereby When
counsel failed to move for funds to fully investigate the circumstances surrounding
Petitioner's case.

Supporting Facts:

        Petitioner avers that the actions Foster took leaving Phenix City and going

back to Tuskegee were extremely important to determine whether Foster was being

truthful in his description of what happened to the victim, asking for extra funds

to hire an investigator to collect testimony from individuals in Tuskegee and in
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Phenix City was extremely important to Davis defense. The State's Case almost

entirely depended upon the testimony of Poster, and Davis trial counsel had some

of the previous testimony that Foster had given in the case. A notion should have

been wade to ensure extra funds to hire an investigator to scrutinize the

individuals that Poster interacted with and ensure that he was being truthful.

Mditionl 1y, an investigator would be able to look into the story that Poster gave

regarding the person that bailed him out of jail, at trial the person was never

named. Petitioner avers that his trial counsel errors and omissions in this regards

was prejudic l to petitioner's defense.

Ground Eight: Counsel was Ineffective and Davis was prejudiced thereby when
Counsel fail to request a Mistrial after two instances of Jury misconduct.

  pportiug Pacts:
        Petitioner avers that counsel failed to call for a new venier despite the

fact that someone in the venire poisoned the pool by declaring that Davis looked

guilty despite no evidence having being presented at that point. While at first

glance the impact that one juror yelling that Davis looked guilty before the entire

potential jury pool would not be serious, there is a great deal of psychological

Impact that type of inference can have. Failure to do so changed the outcome of

the case. Also, Davis alerted counsel that one of the jurors have been having

communications about the case with third party individuals. These communications

are explicitly outlawed under court rules because the jurors are not to discuss

the case with one another until after all of the evidence is admitted by the the

trial court, the closing arguments have concluded, and the jurors have been

instructed on the law.

        petitioner avers that counsel failure to address the jury misconduct was

error. The jury communication with a third-party about the trial and the case

itself received a great deal of attention in the news • the information exchanged

between them inevitably tainted the jury's outcome and would have unlawfully

influenced the juror and those that debated the outcome of the trial. Additionally.
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 the information shouted by the juror who was fined       and bald in COntempt was also
 likely to have unlawfully influenced the verdict and     sent an innocent man to prison

 for a crime he did not coewdt.

Ground iue: Petitioner was denied due process and fair procedure that prevented
eeede-frcu knowingly waiving his right to a preliminary hearing.

     ppOrting Facts:

b	        In a Pacabook post dated December   6. 2015, Jerry Wayne Foster makes a variety

of assertions about bin doing things to "save isy ass" and assertions that seem

to show evidence that he was not being truthful in cases or information he gave

to law enforcement, this evidence was not available at the time of trial and

certainly was not cumulative to any facts that the         defense had     at the time of

trial. The information     posted in the   facebook post also provides evidence that

Foster is willing to do what he needs to do to protect himself first over others,

it is not merely impeachment evidence either, it provides independent evidence

that Fester testimony was not correct in this case and be is wil li ng to ha to

save his ass if needed.

          Petitioner avers that he is entitled to   habeas relief and/or   an evidentiary

hearing on this claim.

Ground Ten: Petitioner was denied Due Process and a Fair Trial due to the State
failure to disclose Brady Evidence or due to Newly Discovered Evidence.

Supportig Pacts:

          Petitioner avers that the State failed to disclose the full terms of

Foster 's incareceration to the defense in preparing them for trial. If that

information was not available to the State at the time of trial, then it is newly

discovered evidence that shows that Davis should be given a new trial.

          During the trial, Foster testified that he was sentenced to. 15 years for

the crimes that he committed and that he had not received a deal for his

cooperation in the case, the State failed to provide information regarding the

outcome of Foster's cases. Foster u(n4num release date at this time, is September
 (
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y ••	    P




        10, 2016. Additio11y, Foster was charged with Rape second degree in Macon County

        in case No. DC-12-68 those charges were waived to the grand jury but there was

        not an outcome in that case. it is not likely that an Individual charged with rape

        would not be indicted and be tried at the Circuit Court.

               Petitioner is entitled to habeas relief and/or an evidentiary hearing on

        this claim.

        Ground Eleven: Petitioner was denied Due Process and a Fair Trial when either
        the prosecutor fail to disclose that Foster had not been truthful regarding who
        bailed him out of jail, or Trial Counsel failed to look into the information
        regarding the most impostant witness in the caze.

        Supporting Facts:

               During the trial, Foster testified that a woman that he met paid $7500 to

        bail him out, this was in 'necessary to contradict any questions from the defense

        counsel that would imply that the Alabama Bureau of Investigation or any other

        agency bailed him out for cooperation in the case against Davis. Either the State

        failed to reveal the circumstances surrounding Foster's bail or Counsel failed

        to look into the actual paperwork to determine the truth of the statement. Trial

        counsel questioned Foster in regards to whether he was assisted by the - State in

        being bailed out, but did not. appear to have inspected the paperwork to determine

        the reality of the situation there.

               Petitioner is entitled to habeas relief and/or an evidentiary hearing on

        this claim.
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